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               EXHIBIT B
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                                           (cfpb.gov/)



      LAST REVIEWED: OCT 17, 2022


      What is a wire transfer?
      English

      Español (cfpb.gov/es/obtener-respuestas/que-es-una-transferencia-bancaria-electronica-es-11


      Wire transfers move money electronically from one bank account
      to another. They can be domestic (between two U.S. accounts) or
      between a U.S. and international account.

      A wire transfer is a common way to electronically move money from one person to another.
      The two main types of wire transfers are international and domestic.

      In general, the majority of wire transfers made by consumers from the United States to other
      countries are "remittance transfers (cfpb.gov/askcfpb/1161)" under federal law and come
      with certain consumer protections if you send them through remittance-transfer providers.

      When you transfer money from one bank or credit union account to another within the
      United States, it’s likely done through a domestic wire transfer.

      If you have a problem with your wire transfer, contact the company right away and explain
      the issue. You can also submit a complaint to the CFPB (cfpb.gov/complaint/).

      Learn more about money transfers. (cfpb.gov/consumer-tools/money-transfers/)




      Don't see what you're looking for?

      Browse related questions
      How do I notify the remittance transfer provider about a mistake with my money transfer? (c
      fpb.gov/askcfpb/1753)
      Can I use the Automated Clearing House (ACH) network to transfer funds abroad? (cfpb.go
      v/askcfpb/1165)
      What is a remittance transfer and what are my rights? (cfpb.gov/askcfpb/1161)
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      Learn more about money transfers (cfpb.gov/consumer-tools/money-transfers/)




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      We're the Consumer Financial Protection Bureau (CFPB), a U.S. government agency that
      makes sure banks, lenders, and other financial companies treat you fairly.

      Learn how the CFPB can help you (cfpb.gov/about-us/the-bureau/)




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      that also serve your needs.




             An official website of the United States government




https://www.consumerfinance.gov/ask-cfpb/what-is-a-wire-transfer-en-1163/                                         2/2
